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                                        UNITED STATES BANKRUPTCY COURT
                                          EASTERN DISTRICT OF VIRGINIA
                                                Alexandria DIVISION


    In re: STONE, ALAN B.                                      §    Case No. 18-14164
                                                               §
                                                               §
                                                               §
                                Debtor(s)


                                            TRUSTEE'S FINAL REPORT (TFR)

           The undersigned trustee hereby makes this Final Report and states as follows:

          1. A petition under Chapter 7 of the United States Bankruptcy Code was filed on 12/13/2018. The
    undersigned trustee was appointed on 12/14/2018.
           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

           3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor as
    exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to 11 U.S.C. § 554.
    An individual estate property record and report showing the disposition of all property of the estate is attached
    as Exhibit A.

           4. The trustee realized the gross receipts of               $            4,000.00
                            Funds were disbursed in the following amounts:

                            Payments made under an
                             interim distribution                                        0.00
                            Administrative expenses                                      0.00
                            Bank service fees                                            0.00
                            Other payments to creditors                                  0.00
                            Non-estate funds paid to 3rd Parties                         0.00
                            Exemptions paid to the debtor                                0.00
                            Other payments to the debtor                                 0.00
                            Leaving a balance on hand of1              $            4,000.00
    The remaining funds are available for distribution.

   1The  balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to
   disbursement will be distributed pro rata to creditors within each priority category. The trustee may receive additional
   compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on account of the disbursement
   of the additional interest.




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           5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.

           6. The deadline for filing non-governmental claims in this case was 05/28/2019 and the deadline for filing
    governmental claims was 06/11/2019. All claims of each class which will receive a distribution have been
    examined and any objections to the allowance of claims have been resolved. If applicable, a claims analysis,
    explaining why payment on any claim is not being made, is attached as Exhibit C.


           7. The Trustee's proposed distribution is attached as Exhibit D.
           8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is $1,000.00. To
    the extent that additional interest is earned before case closing, the maximum compensation may increase.


            The trustee has received $0.00 as interim compensation and now requests the sum of $1,000.00, for a
    total compensation of $1,000.002. In addition, the trustee received reimbursement for reasonable and necessary
    expenses in the amount of $0.00 and now requests reimbursement for expenses of $84.68 for total expenses of
    $84.682.

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
    and correct.




    Date: 06/12/2019                                     By: /s/ Kevin R. McCarthy
                                                                         Trustee




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. §1320.4(a)(2) applies.




          2If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the

    amounts listed in the Trustee's Proposed Distribution (Exhibit D)



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                                                               Form 1
                                                                                                                                                            Exhibit A
                                           Individual Estate Property Record and Report                                                                     Page: 1

                                                            Asset Cases
Case No.:    18-14164                                                                            Trustee Name:      (730101) Kevin R. McCarthy
Case Name:         STONE, ALAN B.                                                                Date Filed (f) or Converted (c): 12/13/2018 (f)
                                                                                                 § 341(a) Meeting Date:       01/16/2019
For Period Ending:         06/12/2019                                                            Claims Bar Date:      05/28/2019

                                      1                                  2                      3                      4                   5                     6

                           Asset Description                          Petition/         Estimated Net Value     Property Formally     Sale/Funds            Asset Fully
                (Scheduled And Unscheduled (u) Property)            Unscheduled        (Value Determined By        Abandoned        Received by the      Administered (FA)/
                                                                       Values                 Trustee,             OA=§554(a)           Estate            Gross Value of
                                                                                      Less Liens, Exemptions,       abandon.                             Remaining Assets
  Ref. #                                                                                 and Other Costs)

    1       123 Wateredge Lane, Fredericksburg, VA                    542,100.00                    42,545.00                                   0.00                          FA
            22406-0000, Stafford County
            Single-family home, Stafford County assessment value.
            Entire property value: $542,100.00

    2       2013 Harley Davidson CVO Electraglide,                     19,860.00                         0.00                                   0.00                          FA
            12,000 miles
            NADA average trade-in value. Entire property value:
            $19,860.00

    3       2007 Mercedes-Benz 230, 65,000 miles                         3,550.00                    1,550.00                                   0.00                          FA
            NADA average trade-in value. Entire property value:
            $3,550.00

    4       SLK 32 AMG Mercedes-Benz 2004,                               3,000.00                    3,000.00                                   0.00                          FA
            70,000 miles
            NADA average trade-in value. Entire property value:
            $3,000.00

    5       2008 Mercedes-Benz R 350, 85,000                             7,175.00                    1,175.00                                   0.00                          FA
            miles
            NADA average trade-in value. Entire property value:
            $7,175.00

    6       Kitchen and dining room: table; 8 chairs;                    2,700.00                        0.00                                   0.00                          FA
            clothes washer; dishes and untensil;
            miscellaneous.

    7       Japanese prints Location: 123                                    500.00                   500.00                                    0.00                          FA
            Wateredge Lane, Fredericksburg VA
            22406

    8       Costume jewelry Location: 123                                    200.00                   200.00                                    0.00                          FA
            Wateredge Lane, Fredericksburg VA
            22406

    9       Wedding/engagement jewlry Location:                          1,000.00                        0.00                                   0.00                          FA
            123 Wateredge Lane, Fredericksburg VA
            22406

   10       Checking: USAA USAA Federal Saving                               500.00                   500.00                                    0.00                          FA
            Banks account number account number
            x3274

   11       Checking: USAA Federal Saving Banks                                0.00                      0.00                                   0.00                          FA
            account number x5865

   12       Ret. or Pension Acct.: U.S. Army                                   0.00                      0.00                                   0.00                          FA




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                                                                                                                                                            Exhibit A
                                           Individual Estate Property Record and Report                                                                     Page: 2

                                                            Asset Cases
Case No.:    18-14164                                                                           Trustee Name:      (730101) Kevin R. McCarthy
Case Name:         STONE, ALAN B.                                                               Date Filed (f) or Converted (c): 12/13/2018 (f)
                                                                                                § 341(a) Meeting Date:       01/16/2019
For Period Ending:         06/12/2019                                                           Claims Bar Date:      05/28/2019

                                      1                                   2                    3                      4                    5                    6

                           Asset Description                           Petition/       Estimated Net Value     Property Formally     Sale/Funds            Asset Fully
                (Scheduled And Unscheduled (u) Property)             Unscheduled      (Value Determined By        Abandoned        Received by the      Administered (FA)/
                                                                        Values               Trustee,             OA=§554(a)           Estate            Gross Value of
                                                                                     Less Liens, Exemptions,       abandon.                             Remaining Assets
  Ref. #                                                                                and Other Costs)

   13       Any interest in property, (including but not                      1.00                      0.00                               4,000.00                          FA
            limited to tax refunds, lottery winnings,
            garnished wages, garnished accounts,
            preferences, personal injury proceeds),
            that the Debtor(s) acquires or becomes
            entitled to acquire within 180 days of the
            filing of his/her petition in bankruptcy by
            bequest, devise or inheritance; as a result
            of a property settlement agreement; or of
            a divorce decree; or as a beneficiary of a
            life insurance policy or of a death benefit
            plan.
            Debtor agreed to turn over 4000 of tax refunds as non-
            exempt.

   14       2018 Federal Income Tax Refund:                               9,109.47                      0.00                                    0.00                         FA
            Federal (u)
            see asset no. 13

   15       2018 State Income Tax Refund: State (u)                       5,399.60                 1,409.07                                     0.00                         FA
            see asset no. 13


   15       Assets Totals (Excluding unknown values)                  $595,095.07               $50,879.07                                $4,000.00                     $0.00



 Major Activities Affecting Case Closing:




 Initial Projected Date Of Final Report (TFR): 12/31/2019                            Current Projected Date Of Final Report (TFR):             12/31/2019




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                                                            Form 2                                                                                Exhibit B
                                                                                                                                                  Page: 1
                                            Cash Receipts And Disbursements Record
Case No.:                 18-14164                                        Trustee Name:                 Kevin R. McCarthy (730101)
Case Name:                STONE, ALAN B.                                  Bank Name:                    Metropolitan Commercial Bank
Taxpayer ID #:            **-***9887                                      Account #:                    ******2562 Checking
For Period Ending: 06/12/2019                                             Blanket Bond (per case limit): $3,000,000.00
                                                                          Separate Bond (if applicable): N/A
    1             2                     3                                        4                             5                     6                      7

  Trans.       Check or      Paid To / Received From          Description of Transaction    Uniform        Deposit             Disbursement        Account Balance
   Date         Ref. #                                                                     Tran. Code        $                       $

 05/06/19        {13}     Martin Conway Law Firm           tax refunds                      1129-000            4,000.00                                        4,000.00

 05/06/19        {13}     Martin Conway Law Firm           tax refund                       1129-000            4,000.00                                        8,000.00

 05/06/19        {13}     Martin Conway Law Firm           Deposit Reversal: tax refunds    1129-000           -4,000.00                                        4,000.00

                                            COLUMN TOTALS                                                       4,000.00                   0.00                 $4,000.00
                                                   Less: Bank Transfers/CDs                                          0.00                  0.00
                                            Subtotal                                                            4,000.00                   0.00
        true
                                                   Less: Payments to Debtors                                                               0.00

                                            NET Receipts / Disbursements                                       $4,000.00                  $0.00


                                                                                                                                                    false




{ } Asset Reference(s)        UST Form 101-7-TFR (5/1/2011)                                                                 ! - transaction has not been cleared
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                                     Cash Receipts And Disbursements Record
Case No.:         18-14164                                  Trustee Name:                   Kevin R. McCarthy (730101)
Case Name:        STONE, ALAN B.                            Bank Name:                      Metropolitan Commercial Bank
Taxpayer ID #:    **-***9887                                Account #:                      ******2562 Checking
For Period Ending: 06/12/2019                               Blanket Bond (per case limit): $3,000,000.00
                                                            Separate Bond (if applicable): N/A




                                                                                               NET                       ACCOUNT
                               TOTAL - ALL ACCOUNTS                      NET DEPOSITS     DISBURSEMENTS                  BALANCES
                               ******2562 Checking                              $4,000.00            $0.00                    $4,000.00

                                                                                $4,000.00                    $0.00             $4,000.00




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                                                         Exhibit C
                                               Analysis of Claims Register
                                Case:18-14164                         ALAN B STONE
                                                                                 Claims Bar Date: 05/28/19


 Claim                Claimant Name/                 Claim Type/                   Amount Filed/        Paid          Claim
                                                                     Claim Ref
  No.               <Category>, Priority              Date Filed                     Allowed          to Date        Balance

2        BB&T IN CARE OF BANKRUPTCY DEPT            Secured                            $502,582.94           $0.00         $0.00
         PO BOX 1847
                                                    03/01/19                                 $0.00
         WILSON, NC 27894-0000
         <4110-000 Real Estate - Consensual Liens
         (mortgages, deeds of trust)>
         , 100
         06/12/2019 collateral not administered
FEE      Kevin R. McCarthy                          Administrative                        $1,000.00          $0.00     $1,000.00
         8508 Rehoboth Ct
                                                                                          $1,000.00
         Vienna, VA 22182
         <2100-000 Trustee Compensation>
         , 200

TE       Kevin R. McCarthy                          Administrative                          $84.68           $0.00        $84.68
         8508 Rehoboth Ct
                                                    06/12/19                                $84.68
         Vienna, VA 22182
         <2200-000 Trustee Expenses>
         , 200

5        Myung Seon Stone                           Priority                              $4,000.00          $0.00     $4,000.00
         South Korea, Kyunggido Goyangshi Dokyang,
                                                    04/01/19                              $4,000.00
         <5800-000 Claims of Governmental Units - §
         507(a)(8)>
         , 570

1        John Deere Financial c/o Weltman, Weinberg Unsecured                             $3,144.83          $0.00     $3,144.83
         & Reis Co. LPA
                                                    01/10/19                              $3,144.83
         323 W. Lakeside Ave. Ste. 200
         Cleveland, OH 44113
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

3        Bank of America, N.A.                      Unsecured                           $17,963.48           $0.00    $17,963.48
         P O Box 982284
                                                    03/11/19                            $17,963.48
         El Paso, TX 79998-2238
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610




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                                                        Exhibit C
                                               Analysis of Claims Register
                                Case:18-14164                       ALAN B STONE
                                                                               Claims Bar Date: 05/28/19

 Claim                Claimant Name/                 Claim Type/                 Amount Filed/        Paid          Claim
                                                                   Claim Ref
  No.               <Category>, Priority              Date Filed                   Allowed          to Date        Balance

4        SYNCHRONY BANK c/o Weinstein & Riley,      Unsecured                           $3,629.71          $0.00     $3,629.71
         PS
                                                    03/12/19                            $3,629.71
         2001 Western Ave., Ste 400
         Seattle, WA 98121
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

6        U.S. Bank NA dba Elan Financial Services   Unsecured                         $10,156.28           $0.00    $10,156.28
         Bankruptcy Department
                                                    04/05/19                          $10,156.28
         PO Box 108
         St. Louis, MO 63166-0108
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

7        Wells Fargo Bank, N.A. Wells Fargo         Unsecured                         $15,238.62           $0.00    $15,238.62
         Education Financial Services
                                                    04/26/19                          $15,238.62
         PO Box 10438, MAC F8235-02F
         Des Moines, IA 50306-0438
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

8        Wells Fargo Bank, N.A. Wells Fargo Card    Unsecured                           $9,524.29          $0.00     $9,524.29
         Services
                                                    05/09/19                            $9,524.29
         PO Box 10438, MAC F8235-02F
         Des Moines, IA 50306-0438
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

9        Wells Fargo Bank, N.A.                     Unsecured                           $3,160.55          $0.00     $3,160.55
         PO Box 10438, MAC F8235-02F
                                                    05/14/19                            $3,160.55
         Des Moines, IA 50306-0438
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

10       Quantum3 Group LLC as agent for Comenity Unsecured                             $1,635.90          $0.00     $1,635.90
         Bank
                                                  05/17/19                              $1,635.90
         PO Box 788
         Kirkland, WA 98083-0788
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610




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                                                   Exhibit C
                                          Analysis of Claims Register
                                Case:18-14164                  ALAN B STONE
                                                                     Claims Bar Date: 05/28/19

                                                                            Case Total:          $0.00   $69,538.34




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                                      TRUSTEE'S PROPOSED DISTRIBUTION
                                                                                                                  Exhibit D


      Case No.: 18-14164
      Case Name: ALAN B STONE
      Trustee Name: Kevin R. McCarthy

                                                      Balance on hand:        $                                4,000.00

            Claims of secured creditors will be paid as follows:

  Claim       Claimant                                        Claim          Allowed           Interim           Proposed
  No.                                                      Asserted          Amount        Payments to            Payment
                                                                             of Claim             Date

  2           BB&T IN CARE OF BANKRUPTCY                  502,582.94               0.00                0.00              0.00
              DEPT

                                                   Total to be paid to secured creditors:          $                   0.00
                                                   Remaining balance:                              $               4,000.00

            Applications for chapter 7 fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                            Total            Interim           Proposed
                                                                          Requested          Payments             Payment
                                                                                               to Date

  Trustee, Fees - Kevin R. McCarthy                                          1,000.00                  0.00        1,000.00
  Trustee, Expenses - Kevin R. McCarthy                                           84.68                0.00          84.68
                         Total to be paid for chapter 7 administrative expenses:                   $               1,084.68
                         Remaining balance:                                                        $               2,915.32

            Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                      Total             Interim             Proposed
                                                                        Requested         Payments            Payment

                                                         None


                      Total to be paid for prior chapter administrative expenses:                  $                   0.00
                      Remaining balance:                                                           $               2,915.32

              In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $4,000.00 must be paid in advance of any dividend to general (unsecured)
      creditors.
              Allowed priority claims are:
  Claim       Claimant                               Allowed Amount         Interim Payments                     Proposed
  No.                                                       of Claim                  to Date                     Payment

  5           Myung Seon Stone                               4,000.00                       0.00                   2,915.32



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                                                      Total to be paid for priority claims:      $          2,915.32
                                                      Remaining balance:                         $              0.00

             The actual distribution to wage claimants included above, if any, will be the proposed payment
      less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).
             Timely claims of general (unsecured) creditors totaling $64,453.66 have been allowed and will
      be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 0.0 percent, plus interest (if
      applicable).
             Timely allowed general (unsecured) claims are as follows:
  Claim       Claimant                               Allowed Amount         Interim Payments               Proposed
  No.                                                       of Claim                  to Date               Payment

  1           John Deere Financial c/o                       3,144.83                     0.00                   0.00
              Weltman, Weinberg & Reis Co.
              LPA
  3           Bank of America, N.A.                         17,963.48                     0.00                   0.00
  4           SYNCHRONY BANK c/o                             3,629.71                     0.00                   0.00
              Weinstein & Riley, PS
  6           U.S. Bank NA dba Elan Financial               10,156.28                     0.00                   0.00
              Services Bankruptcy Department
  7           Wells Fargo Bank, N.A. Wells                  15,238.62                     0.00                   0.00
              Fargo Education Financial
              Services
  8           Wells Fargo Bank, N.A. Wells                   9,524.29                     0.00                   0.00
              Fargo Card Services
  9           Wells Fargo Bank, N.A.                         3,160.55                     0.00                   0.00
  10          Quantum3 Group LLC as agent                    1,635.90                     0.00                   0.00
              for Comenity Bank
                          Total to be paid for timely general unsecured claims:                  $               0.00
                          Remaining balance:                                                     $               0.00

             Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will be
      paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
      have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
      applicable).
             Tardily filed general (unsecured) claims are as follows:
  Claim       Claimant                               Allowed Amount         Interim Payments               Proposed
  No.                                                       of Claim                  to Date               Payment

                                                          None


                          Total to be paid for tardily filed general unsecured claims:           $               0.00
                          Remaining balance:                                                     $               0.00




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          Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
    subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
    allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
    subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).
          Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
    subordinated by the Court are as follows:
  Claim     Claimant                             Allowed Amount        Interim Payments               Proposed
  No.                                                   of Claim                 to Date               Payment

                                                      None


                                                Total to be paid for subordinated claims: $                    0.00
                                                Remaining balance:                        $                    0.00




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